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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSE TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Response to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, rendered March 18, 2025. We are submitting these documents for
in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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Slack Direct Messages: Entry Nos. 2076 (PRIV-APL-EG_00091533), 2090 (PRIV-APL-
EG_00091668)

       PRIV-APL-EG_00091533 is a Slack message thread in which a non-lawyer asks a question
to Ling Lew (in-house counsel) about certain types of apps that Apple will or will not allow on the
App Store as part of changes made in response to regulatory changes in Korea. Ms. Lew responds
with an explanation and recommendation, and the members of the thread then discuss that
explanation and recommendation, including by posing additional questions to Ms. Lew. This is
an exchange with an attorney for the primary purpose of soliciting, receiving, and discussing legal
advice and it is therefore privileged. See Labbe v. Dometic Corp., 2023 WL 5672950, at *4 (E.D.
Cal. Sept. 1, 2023); United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal.
2002).

        PRIV-APL-EG_00091668 is a Slack message thread in which a non-lawyer shares an
update regarding the messages different users may see based on changes to the App Store in
response to new regulatory requirements. The non-lawyer explicitly seeks feedback and approval
from Ling Lew (in-house counsel), who confirms approval from the legal team. Not only does the
document consist of the solicitation and provision of legal advice, rendering it privileged, see
Labbe, 2023 WL 5672950, at *4; ChevronTexaco, 241 F. Supp. 2d at 1076, but it also contains
confidential information shared with an attorney for the purpose of obtaining legal advice and is
privileged for that additional reason, see In re Meta Healthcare Litig., 2024 WL 3381029, at *2
(N.D. Cal. July 10, 2024).




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Presentations Drafted at the Request of and Sent to Counsel: Entry No. 2115 (PRIV-APL-
EG_00092002), 2122 (PRIV-APL-EG_00092062), 2124 (PRIV-APL-EG_00092084)

        PRIV-APL-EG_00092002 is a slide deck prepared at the direction of Sean Cameron (in-
house counsel) for use in a presentation to a regulator in the Netherlands regarding App Store
changes made in response to new regulatory requirements. In the chronologically first email of
the parent document (PRIV-APL-EG_00091988), Mr. Cameron lays out in detail the content for
the final deck, and he later provides individualized feedback on slides in the deck. PRIV-APL-
EG_00092062 and PRIV-APL-EG_00092084 are earlier iterations of the same deck shared on the
same thread with Mr. Cameron and Ling Lew (in-house counsel).

        Contrary to Epic’s contention, it is not true that privilege attaches only if a document
discloses “on its face” the “contents of any legal advice.” Dkt. 1387, at 3. While the ability to
discern specific legal advice from the face of a document might be a relevant factor when
addressing “internal documents drafted by [non-lawyers] and sent among [non-lawyers],” the same
logic does not hold for “communications to and from counsel.” In re Premera Blue Cross
Customer Data Sec. Breach Litig., 329 F.R.D. 656, 663 (D. Or. 2019). Here, the documents were
created at the direction of counsel, provided to counsel, and commented on by counsel, all in
service of a submission to a regulator regarding Apple’s legal obligations. They fall squarely
within the privilege.




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DATED: March 26, 2025                   WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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